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       Attorneys for Defendant Elon Musk
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  12                       UNITED STATES DISTRICT COURT
  13                     CENTRAL DISTRICT OF CALIFORNIA
  14
  15 VERNON UNSWORTH,                         Case No. 2:18-cv-08048
  16              Plaintiff,                  Judge: Hon. Stephen V. Wilson
  17        vs.                               DEFENDANT ELON MUSK’S
                                              MOTION TO QUASH TRIAL
  18 ELON MUSK,                               SUBPOENA DUCES TECUM TO
                                              ELON MUSK
  19              Defendant.
                                              Complaint Filed: September 17, 2018
  20                                          Trial Date: December 3, 2019
  21                                          Hearing Date: November 25, 2019
                                              Time:         3:00 p.m.
  22                                          Courtroom:    10A
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    1        PLEASE TAKE NOTICE that on November 25, 2019 at 3:00 p.m. in
    2 Courtroom 10A of the above-titled Court, Defendant Elon Musk will move this
    3 Court for an order quashing the Subpoena to Appear and Testify at a Trial in a Civil
    4 Action, which was served on Mr. Musk on November 12, 2019.
    5        This motion is made pursuant to this Notice of Motion, the concurrently-filed
    6 Memorandum of Points and Authorities, the Declaration of Michael Lifrak (and all
    7 exhibits thereto), the [Proposed] Orders Granting Mr. Musk’s Motion to Compel,
    8 the files and records in this action, and any such additional argument or materials as
    9 may be submitted to the Court before the time of the decision in this matter.
  10         This motion is made following the conference of counsel pursuant to C.D. Cal.
  11 L.R. 7-3, which took place by phone on November 21, 2019.
  12
  13 DATED: November 21, 2019                 Respectfully submitted,
  14                                          QUINN EMANUEL URQUHART &
  15                                          SULLIVAN, LLP

  16                                         By /s/ Alex Spiro
  17
                                                Alex Spiro (admitted pro hac vice)
  18                                            Attorneys for Defendant Elon Musk
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    1                                    INTRODUCTION
    2         Plaintiff Vernon Unsworth’s trial subpoena duces tecum to Defendant Elon
    3 Musk is designed solely to harass Mr. Musk. It seeks production of documents
    4 detailing Mr. Musk’s finances, including his financial statements, calculations of net
    5 worth, income tax returns, income statements, and documents reflecting ownership
    6 in real property, credit availability, liquid assets, and shares held in various
    7 companies. For several reasons, the Court should not order production of these
    8 documents.
    9         First, the subpoena is not a proper trial subpoena. If Mr. Unsworth needed
  10 this detailed financial information (which he does not, as explained below), he
  11 should have sought it during discovery, not at trial.
  12          Second, during discovery, Mr. Unsworth sought information on Mr. Musk’s
  13 net worth, and Mr. Musk has already provided it, under oath. He testified that his
  14 net worth was substantially in excess of $1 billion. Mr. Unsworth thus already has
  15 the information he needs.
  16          Third, Mr. Unsworth’s justification for the subpoena—that the detailed
  17 information sought in the subpoena is relevant to punitive damages—is sophistry.
  18 In this lawsuit, in which Mr. Unsworth is seeking “presumed damages,” punitive
  19 damages are limited to the amount of compensatory damages. There is no amount
  20 of compensatory damages that a jury could properly award Mr. Unsworth on his
  21 claim, for which any net worth of Mr. Musk in excess of $1 billion would be
  22 relevant. Thus, any additional information regarding Mr. Musk’s personal finances
  23 has no legitimate bearing on the jury’s decision on punitive damages, if it awards
  24 any at all.
  25          Fourth, the requested information is highly prejudicial and will inflame the
  26 jury and cause confusion, given that it is not relevant to any claim or measure of
  27 damages.
  28          The Court should quash Mr. Unsworth’s attempt to obtain untimely,
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    1 irrelevant, and inadmissible discovery from Mr. Musk.
    2                       STATEMENT OF RELEVANT FACTS
    3        A.     Mr. Unsworth’s Discovery Requests.
    4        On June 18, 2019, Mr. Unsworth served discovery on Mr. Musk seeking
    5 documents and testimony for calculating Mr. Musk’s net worth. (Declaration of
    6 Michael Lifrak in Support of Motion to Quash (“Lifrak Decl.”) Exs. 1, 2.) Mr.
    7 Musk objected to the requests on the basis that information regarding personal
    8 financial affairs is protected under the California Constitution’s right to privacy, and
    9 that his precise net worth, or any net worth above $1 billion, is irrelevant in light of
  10 the Supreme Court’s decision in State Farm Mut. Auto Ins. Co. v. Campbell, 538
  11 U.S. 408, 425 (2003). (Lifrak Decl. Ex. 3.) Nonetheless, Mr. Musk stipulated that
  12 his net worth exceeds $1 billion. (Lifrak Decl. Ex. 4.) Mr. Musk also answered
  13 questions at his deposition regarding his net worth and stated that it was several
  14 times higher. (Lifrak Decl. ¶7.) Mr. Unsworth propounded no further discovery on
  15 this topic, nor did he move to compel any further information from Mr. Musk.
  16         B.     Mr. Unsworth’s Trial Subpoena.
  17         On November, 12, 2019, Mr. Unsworth served a trial subpoena duces tecum
  18 on Mr. Musk. It included ten requests for the production of documents, probing
  19 every area of Mr. Musk’s finances, including:
  20         1.     Financial Statements reflecting Mr. Musk’s net worth as of the Trial
  21 Date and as of the Subpoena Date.
  22         2.     Financial Statements reflecting the net worth of Excession, LLC as of
  23 the Trial Date and as of the Subpoena Date.
  24         3.     Documents sufficient to enable calculation of Mr. Musk’s net worth as
  25 of the Trial Date and as of the Subpoena Date.
  26         4.     The most recent federal income tax returns of Mr. Musk and of
  27 Excession, LLC as of December 3, 2019.
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    1         5.    Documents sufficient to calculate the amount of income Mr. Musk
    2 received, and the amount of his expenses, during the year prior to the Trial Date.
    3         6.    Documents sufficient to identify all available liquid assets (including
    4 cash) of Mr. Musk and any Affiliated Entity as of the Trial Date and as of the
    5 Subpoena Date.
    6         7.    Documents sufficient to identify all real property Mr. Musk or any
    7 Affiliated Entity owns, and all mortgages on that real property, as of the Trial Date
    8 and as of the Subpoena Date.
    9         8.    Documents sufficient to identify the total amount of shares of Tesla,
  10 Inc. and SpaceX owned by Mr. Musk or any Affiliated Entity, and all pledges of all
  11 or any portion of those shares, as of the Trial Date and as of the Subpoena Date.
  12          9.    Documents sufficient to identify all amounts and sources of credit
  13 available to Mr. Musk or any Affiliated Entity as of the Trial Date and as of the
  14 Subpoena Date.
  15          10.   Documents reflecting Mr. Musk’s financial ability to pay any judgment
  16 rendered against him in this case.
  17 (Lifrak Decl. Ex. 5.)
  18          The subpoena comes two months after the close of the discovery on
  19 September 13, 2019, and seeks nine categories of new information that Mr.
  20 Unsworth never before requested. The parties have met and conferred, and Plaintiff
  21 refuses to withdraw the subpoena.
  22 I.       THE COURT SHOULD QUASH THE TRIAL SUBPOENA.
  23          A.    The Trial Subpoena is Beyond the Scope of FRCP 45.
  24          Trial subpoenas simply cannot be used to conduct discovery. Puritan Inv.
  25 Corp. v. ASLL Corp., 1997 WL 793569, at *1 (E.D. Pa. Dec. 9, 1997) (“Trial
  26 subpoenas may not be used, however, as means to engage in discovery after the
  27 discovery deadline has passed.”); nSight, Inc. v. PeopleSoft, Inc., 2006 WL 988807,
  28 at *2-3 (N.D. Cal. Apr. 13, 2006) (trial subpoenas can only be used in “narrow

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    1 circumstances” and cannot be used to “obtain discovery beyond the discovery
    2 period.”); Hatcher v. Precoat Metals, 271 F.R.D. 674, 675 (N.D. Ala. 2010)
    3 (quashing trial subpoena seeking categories of documents that should have been
    4 sought in discovery); Integra Lifesciences I, Ltd. v. Merck KGaA, 190 F.R.D. 556,
    5 562 (S.D. Cal. 1999) (trial subpoena was “an improper attempt to obtain discovery
    6 after the cut-off date”); Ghandi v. Police Dept. of City of Detroit, 747 F.2d 338, 354-
    7 355 (6th Cir. 1984) (affirming district court’s decision to quash subpoena issued on
    8 the eve of trial for new documents).
    9        But “discovery” is exactly what Mr. Unsworth is seeking here. He did not
  10 request these documents in discovery, nor would he have likely been entitled to
  11 them, and it is too late now. As described above, Mr. Musk has already provided
  12 information regarding his net worth. If Mr. Unsworth wanted information about the
  13 further details of Mr. Musk’s financial condition, he should have sought it during
  14 discovery.
  15         B.     The Subpoena Seeks Irrelevant Information.
  16                1.    The Punitive Damages Available to Mr. Unsworth Must Be
  17                      Proportional to any Compensatory Damages He Receives.
  18         Mr. Unsworth’s punitive damages in this case—if awarded at all—will be
  19 capped at a one–to–one (or similar) ratio to any award of compensatory
  20 damages. In State Farm Mut. Auto. Ins. Co. v. Campbell, the Supreme Court noted
  21 that compensatory damages often contain a “punitive element” and stated that where
  22 “compensatory damages are substantial, then a lesser ratio, perhaps only equal to
  23 compensatory damages, can reach the outermost limit of the due process
  24 guarantee.” 538 U.S. at 425; see also id. at 429 (“[T]he substantial compensatory
  25 damages awarded (a portion of which contained a punitive element), likely would
  26 justify a punitive damages award at or near the amount of compensatory
  27 damages.”). In applying the State Farm analysis to awards of punitive damages in
  28 defamation cases, California Courts and the Ninth Circuit have capped punitive

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    1 damages at a one–to–one ratio to compensatory damages. See, e.g., Dawe v. Corr.
    2 USA, 506 F. App’x 657, 660 (9th Cir. 2013); Peterson v. Stewart, 2012 WL 541521,
    3 at *13 (Cal. Ct. App. Feb. 17, 2012).
    4        In Peterson, the California Court of Appeal held that, in a defamation action,
    5 compensatory damages in the form of “assumed” damages “already contain[] a
    6 punitive element” and that “in such circumstances, a lower ratio of punitive to
    7 compensatory damages is warranted.” The court affirmed the award of punitive
    8 damages because the ratio of punitive to compensatory damages was “well below
    9 the 1-1 ratio that may constitute the ‘outermost limit of the due process guarantee’ in
  10 such circumstances.” Peterson, 2012 WL 541521, at *13.
  11                2.    Because Punitive Damages are Capped, Additional Evidence
  12                      of Mr. Musk’s Financial Situation is Irrelevant.
  13         Mr. Musk has already stipulated to a value of his net worth for the purpose of
  14 calculating punitive damages, and has provided further testimony on the topic under
  15 oath. (Lifrak Decl. ¶7, Ex. 4.) To the extent the jury is permitted to consider
  16 evidence of Mr. Musk’s net worth in its determination of punitive damages, it will
  17 be able to do so.
  18         However, given the cap on potential punitive damages, additional and
  19 detailed evidence of Mr. Musk’s financial status (including everything sought by
  20 Mr. Unsworth’s trial subpoena) is irrelevant. If the jury intends to punish Mr. Musk
  21 for any statements he has made, it can do so up to Constitutional limits of due
  22 process, and no more. See State Farm, 538 U.S. at 425. Accordingly, the numerous
  23 categories of new documents requested probing every aspect of Mr. Musk’s and his
  24 companies’ financial situation are irrelevant and inadmissible. See Fed. R. Evid.
  25 402 (“Irrelevant evidence is not admissible.”); see also Fresno Rock Taco, LLC v.
  26 Nat’l Sur. Corp., 2013 WL 2182864, at *7 (E.D. Cal. May 20, 2013) (excluding
  27 evidence of parent company’s financial status as irrelevant ).
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    1        C.     The Subpoena Seeks Information that is More Prejudicial than
    2               Probative.
    3        The extensive information Mr. Unsworth now seeks regarding Mr. Musk’s
    4 financial situation has no probative value here. But the potential for prejudice is
    5 high. See Brough v. Imperial Sterling Ltd., 297 F.3d 1172, 1178-80 (11th Cir. 2002)
    6 (“The general rule is that, during trial, no reference should be made to the wealth or
    7 poverty of a party, nor should the financial status of one party be contrasted with the
    8 other’s.” (quotation marks omitted) ); Finjan, Inc. v. Sophos, Inc., 2016 WL
    9 4560071, at *14-15 (N.D. Cal. Aug. 22, 2016) (excluding “evidence about the
  10 wealth of Sophos’s founders or employees,” including their compensation despite
  11 the fact that they were testifying witnesses, as “far more likely to be prejudicial than
  12 to be probative”); see also Fresno Rock Taco, 2013 WL 2182864, at *7 (“[U]nder
  13 the Rule 403 balancing test, any probative value attributable to the financial
  14 statement is significantly outweighed by the danger of unfair prejudice in that it
  15 could entice a jury to award punitive damages based on the wealth of Fireman’s
  16 Fund’s group of companies and not that of Defendant.”).
  17         Such extensive information regarding Mr. Musk’s financial situation will also
  18 mislead the jury and confuse the issues. Among other things, if the jury hears such
  19 evidence, it may believe that it is entitled to award an amount up to Mr. Musk’s net
  20 worth, in punitive damages, which it is not. Because the financial information Mr.
  21 Unsworth seeks is irrelevant and highly prejudicial, it is inadmissible at trial. As
  22 such, the Court should quash the trial subpoena duces tecum to Mr. Musk.
  23
                                         CONCLUSION
  24
             For the foregoing reasons, the Court should grant the motion quash the trial
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        subpoena to Elon Musk.
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    1 DATED: November 21, 2019             Respectfully submitted,
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    3                                          & SULLIVAN, LLP

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                                             Attorneys for Defendant Elon Musk
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